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UNITED STATES COURT OF INTERNATIONAL TRADE


 LECO SUPPLY, INC.

                              Plaintiff,                    Court No. 21-cv-00136
       v.

 UNITED STATES,
                              Defendant.




                                           COMPLAINT

       Plaintiff Leco Supply, Inc. (“Leco Supply”), by and through its undersigned counsel, on

information and belief alleges the following:

              ADMINISTRATIVE DETERMINATION TO BE REVIEWED

1. This action is an appeal from U.S. Customs & Border Protection (“CBP”) decision H315522

   (February 24, 2021), which is CBP’s final administrative determination in response to Leco

   Supply’s request for review of the initial determination in Enforce and Protect Act (“EAPA”)

   Consolidated Case Number 7357. See H315522 (February 24, 2021) (“H315522”).

2. CBP notified all interested parties of H315522 on February 25, 2021 via email service. The

   contested decision was not published in the Federal Register.



                                       JURISDICTION

3. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1581(c), on the grounds

   that this action is commenced pursuant to Section 517(g) of the Tariff Act of 1930, as amended

   by the EAPA, 19 U.S.C. § 1517(g).




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                                          STANDING

4. Leco Supply is a United States importer of merchandise and a subject of CBP’s evasion

   investigation in Cons. Case No. 7537, and is an interested party within the meaning of 19

   U.S.C. § 1517(a)(6) and 28 U.S.C. § 2631(k)(1).

5. As the party adversely affected or aggrieved by CBP’s final administrative determination in

   H31552, Leco Supply has standing to bring this action pursuant to 28 U.S.C. § 2631(i).



                                         TIMELINESS

6. Leco Supply commenced this action by filing a Summons concurrently with this Complaint.

   The Summons and Complaint are being filed within thirty days from the date that CBP

   published H315522 by providing email service to all interested parties. The Summons and

   Complaint are therefore timely filed pursuant to 19 U.S.C § 1517(g)(1).



                                  STANDARD OF REVIEW

7. CBP’s final administrative determination in an EAPA investigation is subject to the standard

   of review set forth in 19 C.F.R. § 1517(g)(2): “the United States Court of International Trade

   shall examine (A) whether the Commissioner fully complied with all procedures under

   subsections (c) and (f); and (B) whether any determination, finding, or conclusion is arbitrary,

   capricious, an abuse of discretion, or otherwise not in accordance with law.” See 19 U.S.C. §

   1517(g)(2).



                                  STATEMENT OF FACTS

8. On October 2, 2019, domestic manufacturer M&B Metal Products Company, Incorporated




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   (“M&B”) filed revised EAPA allegations of evasion against 10 importers of steel wire hangers:

   N&M Hangers LLC (“N&M Hangers”); Direco International LLC (“Direco”); PNJ Import, Inc. (“PNJ

   Import”); LGA Trading Inc. (“LGA Trading”); Chungwha Prince Group Corporation (“Chungwha”);

   WHL International Inc. (“WHL International”); Wah Hing Lee Investment, Inc. (“Wah Hing Lee”);

   SK Supply Corp. (“SK Supply”); KS Supply; and Leco Supply.

9. On October 25, 2019, CBP’s Trade Remedy Law Enforcement Directorate (“TRLED”)

   decided to initiate an EAPA investigation of Leco Supply, assigned case number 7370. See

   Memorandum to Regina Walton, Acting Director, Enforcement Operations Division,

   “Initiation of Investigation for EAPA Case Number 7370 – Leco Supply” (October 25, 2019).

   At the same time, TRLED initiated EAPA investigations for the other 9 importers that were

   the subject of evasion allegations by M&B.

10. On or around November 12, 2019, CBP issued a CF28 Request for Information to Leco Supply.

   Leco Supply submitted the requested information on December 3, 2019. See Leco Supply

   CF28 Response.

11. On January 30, 2020, CBP consolidated the ten EAPA investigations and issued a notice of

   investigation and interim measures taken in EAPA Cons. Case Number 7357. See CBP Letter,

   “Notice of Initiation of Investigation and Interim Measures – EAPA Cons. Case Number 7357”

   (January 30, 2020). The stated purpose of the investigation was to determine whether entries

   of merchandise purchased from Truong Hong Development Multidisciplinary Group Ltd.

   (“Truong Hong”) and imported from Laos evaded antidumping and countervailing duties

   (“AD/CVD”) on steel wire garment hangers from Vietnam (A-552-812/C-552-813). Id. at 4.

   The Period of Investigation (“POI”) for Cons. Case No. 7357 was October 3, 2018 through the

   pendency of the investigation. Id. at 2-3.

12. On January 31, 2020, CBP sent 17 emails to Leco Supply and the other interested parties in


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   Cons. Case No. 7357, which it characterized as service of the public administrative record in

   the investigation. The public administrative record attached in the 17 emails included the

   following:

   a. Public versions of M&B’s allegations against Leco Supply and the other nine importers

       subject to the investigation. Exhibits 4 and 7 to M&B’s allegations against Leco Supply,

       titled “Foreign Market Research Report” and “M&B’s Calculation of Estimated Equipment

       List” respectively, were designated as confidential business information and omitted from

       the public version in their entirety, with only a single sentence “public summary” of each.

       See Letter from M&B, “EAPA Duty Evasion Allegation concerning Steel Wire Garment Hangers

       Imported from Laos— Importer: Leco Supply” (October 2, 2019). No explanation was provided

       as to why the documents constituted business confidential information or why they were

       permitted to be redacted in their entirety.

   b. CBP Memos to the File dated October 25, 2019 with regard to each individual case number.

   c. 44 PDFs titled as “DC NTAC” Reports, each of which consisted of a single page that stated

       “DOCUMENT NOT CAPABLE OF SUMMARY – ANALYSIS REPORT.”                                    No

       indication was provided as to what was analyzed in the reports.

   d. A January 27, 2020 Memo to the File with the subject “Additional Information,” which

       was entirely redacted with the exception of four words. No public summary was provided.

   e. A second January 27, 2020 Memo to the File with the subject “CBP Data,” which stated

       that “attachments are business propriety in its entirety and not subject to public summary.”

13. On February 18, 2020, CBP issued a Request for Information (“RFI”) to Leco Supply, in which

   it requested information about Leco Supply’s import practices and procedures and corporate

   structure, as well as extensive records for Leco Supply’s imports of steel wire garment hangers




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   from Laos during the POI, purchases and sales records for such hangers, and evidence

   corroborating that the hangers were manufactured in Laos. See CBP Memorandum to Leco

   Supply, “Request for Information to Importer with regards to Enforce and Protect Act investigation

   (Cons. 7357) of whether Leco Supply Inc. has evaded Antidumping and Countervailing Duty Orders

   on steel wire garment hangers from the Socialist Republic of Vietnam (Vietnam), A-552-812 and C-

   552-813” (February 18, 2020) (“Leco Supply RFI”).

14. On or around March 10, 2020, Truong Hong submitted certain information and/or documents

   to CBP in response to a request for information. See H315522 at 9, fn 22. CBP did not at any

   point in the course of the investigation or administrative review make that information and/or

   documents available to Leco Supply. Id.

15. On March 24, 2020, Leco Supply submitted its response to the February 18, 2020 RFI. See

   Leco Supply, “Supplemental Response to Importer Request for Information (RFI)” (March 24,

   2020).

16. On information and belief, some or all of the importers under investigation in Cons. Case No.

   7357 submitted RFI responses in March or April 2020. Some importers properly served a

   public version of their RFI responses on all interested parties, including Leco Supply.

   However, Leco Supply did not receive a public version of the RFI responses of Direco, Wah

   Hing Lee, or WHL.

17. On or around April 8, 2020, counsel for Leco Supply received a telephone call from CBP, in

   which CBP stated that it intended to reject Leco Supply’s RFI response and require it to be

   resubmitted, on the grounds that the submission “over-bracketed” information that did not

   qualify as business confidential information. Counsel for Leco Supply objected to this action

   on the grounds that it was overly burdensome and inconsistent with CBP’s actions with regard

   to other parts of the administrative record, in which it had allowed entire documents to be


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   redacted from the public version.

18. On April 8, 2020, counsel for Leco Supply sent an email to CBP objecting to CBP’s stated

   intent to reject Leco Supply’s RFI response for over-bracketing, on the grounds that “CBP has

   allowed M&B Metal Products Company, Incorporated, to bracket BPI documents in their

   entirety and to submit public versions that contain only a general summary of the document.”

   See Email from Heather Jacobson to Patricia Tran and Kareen Campbell, “EAPA Cons. Case

   No. 7357: Bracketing and Summary of BPI” (April 8, 2020).

19. On April 13, 2020, having received no response from TRLED to the April 8, 2020 email,

   counsel for Leco Supply reiterated its objections to the disparate treatment of Leco Supply and

   M&B with respect to bracketing requirements. See Email from Heather Jacobson to Patricia

   Tran and Kareen Campbell, “Re: EAPA Cons. Case No. 7357: Leco Supply Rebracket” (April

   13, 2020).

20. On or around April 14, 2020, TRLED informed counsel for Leco Supply via telephone that it

   did not consider its regulations with regard to bracketing to apply to information placed on the

   record by the petitioner or by CBP, and that Leco Supply would be required to re-bracket and

   resubmit its RFI response.

21. On April 27, 2020, Leco Supply resubmitted its response to the RFI with bracketing

   conforming to CBP’s instructions. See Leco Supply, “Supplemental Response to Importer

   Request for Information (RFI)” (April 27, 2020).

22. On June 9, 2020, CBP issued a Supplemental Request for Information to Leco Supply, in which

   CBP requested clarification or further information related to Leco Supply’s RFI response.

   CBP Memorandum to Leco Supply, “Supplemental Request for Information to Importer with

   regards to Enforce and Protect Act investigation (Cons. 7357) of whether Leco Supply Inc. has




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   evaded Antidumping and Countervailing Duty Orders on steel wire garment hangers from the

   Socialist Republic of Vietnam (Vietnam), A-552-812 and C-552-813” (June 9, 2020)

   (“Supplemental RFI”). As attachments to the Supplemental RFI, CBP included the business

   confidential version of three documents placed on the administrative record by CBP: two

   audited financial statements, and an individual’s email signature block. CBP did not explain

   why it designated information in the attachments as confidential, or under what regulation it

   could provide Leco Supply with the confidential information in those documents when it

   claims to be unable to release business confidential information to interested parties.

23. On June 15, 2020, CBP served on the interested parties public versions of the Supplemental

   RFIs sent to the importers under investigation. All of the Supplemental RFIs attached public

   versions of confidential documents apparently placed on the record by CBP. CBP did not

   make these or other documents that it placed on the record available to Leco Supply by direct

   service or any other means.

24. On July 2, 2020, Leco Supply submitted a complete response to the Supplemental RFI. See

   Leco Supplemental RFI Response (July 2, 2020).

25. On July 29, 2020, CBP requested that Leco Supply prepare and submit to CBP a confidential

   and public version of its December 3, 2019 response to CBP’s initial CF28 Request for

   Information, “so that we may release, via email, the public version to the parties to the

   investigation.” See Email from CBP to Heather Jacobson, “EAPA Cons Case No. 7357 – Leco

   Supply Bracketing CF-28” (July 29, 2020). The request stated that “If Leco fails to respond to

   CBP’s request by the deadline, then the entirety of Leco’s CF-28 response may be considered

   a public document because a request was not made to CBP for business confidential treatment.

   As such, the original CF-28 response may be provided to the parties to the investigation.” Id.




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26. On August 4, 2020, Leco Supply submitted to CBP confidential and public versions of its

   initial CF28 response.

27. CBP did not at any point provide Leco Supply with public versions of the CF28 responses of

   the other interested parties.

28. On August 17, 2020, M&B submitted written arguments in Cons. Case No. 7357, arguing that

   there is substantial evidence on the record to support an affirmative determination of evasion

   by all ten importers, including Leco Supply. See Letter from M&B, “EAPA Investigation of Steel

   Wire Garment Hangers Imported from Laos (EAPA Cons. Case No. 7357): Written Argument of M&B

   Metal Products Company, Inc.” (August 17, 2020).

29. On August 20, 2020, Leco Supply submitted written arguments arguing that the evidence on

   the administrative record failed to meet the legal standard of providing “substantial evidence”

   that Leco Supply evaded antidumping or countervailing duties. See Letter from Leco Supply,

   “EAPA Consolidated Case No. 7357 - Written Arguments of Leco Supply Inc.” (August 20, 2020).

   Leco Supply emphasized that even taking M&B’s allegations of production capacity as true,

   Leco Supply’s importation of two containers during the POI easily fell within that capacity,

   and that Leco Supply had placed extensive documentary evidence on the record that the wire

   hangers it imported were manufactured in Laos. Id. at 4-8. Leco Supply further argued that

   allegations by M&B of involvement of Truong Hong principals in Vietnamese entities

   involved in wire hanger production, and similarities of Truong Hong invoices to invoices of

   such entities, is not indicative of transshipment even if taken as true. Id. at 8-10.

30. CBP did not conduct a site visit to the Laos factory in question in order to corroborate any of

   the evidence placed on the record.

31. On October 26, 2020, CBP issued a Notice of Determination as to Evasion in Cons. Case No.

   7357 (“Initial Evasion Determination”). As a result of Truong Hong’s failure to provide a


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   substantive RFI response, CBP applied adverse inferences not only against Truong Hong but

   against all ten importers, including Leco Supply, and dismissed the “copious documents”

   provided by importers including Leco Supply as “unreliable.”                See Initial Evasion

   Determination at 8. On the basis of “information provided by the Alleger and {largely

   redacted} record evidence,” CBP found that “the hangers” were actually made in Vietnam and

   that “the Importers” incorrectly claimed Laos as the country of origin for their imports. Id.

32. On November 25, 2020, Leco Supply timely submitted a request for de novo administrative

   review of CBP’s initial Evasion Determination pursuant to 19 C.F.R. § 165.41. See Leco

   Supply Inc. Request for Administrative Review of Evasion Determination, Cons. Case No.

   7357 (November 25, 2020) (“Administrative Review Request”).

33. In its Administrative Review Request, Leco Supply asserted that the administrative record

   failed to establish substantial evidence that Leco Supply evaded antidumping or countervailing

   duties. See Administrative Review Request at 14. Leco Supply reviewed in detail the

   extensive documentation it submitted in the course of the investigation corroborating the

   manufacture of the wire hangers it imported in Laos, and argued that no evidence on the record

   contradicts or calls into question the veracity of that documentation. Id. at 9-13, 15-16.

34. Leco Supply next argued that CBP is required to analyze the evidence of Leco Supply’s

   imports of wire hangers separately from the imports of the other importers in the consolidated

   investigation, and “may not make summary determinations about the importers under

   investigation as a whole or discount evidence submitted by Leco Supply due to inconsistencies

   or omissions in evidence applicable to other parties.” Id. at 1, 17-20.

35. Leco Supply further argued that CBP’s application of adverse inferences against Leco Supply

   violated the plain language of 19 U.S.C. § 1517(c)(3)(A). Id. at 1-2, 22-23.




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36. Finally, Leco Supply, argued that its inability to access the business confidential information

   that formed the overwhelming basis for CBP’s determination of evasion constituted a violation

   of its procedural due process rights under the Fifth Amendment of the United States

   Constitution. Id. at 2, 25-29.

37. On February 25, 2021, CBP served on all interested parties via email its final administrative

   determination, H315522, in which CBP continued to find substantial evidence of evasion with

   respect to Leco Supply’s imports during the POI. See H315522

38. CBP ruled in H315522 that its application of adverse inferences to Leco Supply in its initial

   determination was in error, as Leco Supply had responded timely and properly to all of CBP’s

   requests for information. Id. at 11.

39. Despite its reversal with regard to adverse inferences, CBP ruled in H315522 that “The record

   evidence indicates that the authenticity of much of the documentation as it pertains to the

   production of wire hangers by Truong Hong in Laos is in question. The issue of the reliability

   of the production documentation, coupled with the evidence demonstrating significant ties

   between Truong Hong and a Vietnamese company that produces covered merchandise, meets

   the standard of substantial evidence that evasion occurred” with respect to Leco Supply’s

   imports from Laos.” Id. at 9.

40. In its analysis, CBP relied heavily on documents on the record that it never made available to

   Leco Supply. Most specifically, CBP asserted that “The Summary of Facts Memorandum

   produced by OT’s Regulatory Audit and Agency Advisory Services (“RAAAS”) extensively

   details the reasons why Truong Hong-created documentation provided by Leco Supply and

   other importers is unreliable.” Id. This was the first time that CBP acknowledged the existence

   of such a memorandum; CBP did not at any point inform Leco Supply that such a memorandum




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   had been created or provide a public summary thereof. CBP acknowledged that it redacted the

   Summary of Facts Memorandum “in full.” Id.

41. CBP’s evasion determination in H315522 also relied on information obtained from other

   parties’ CF28 responses – public versions of which it never made available to Leco Supply

   despite expressly stating its intent to do so – and information from Direco International’s RFI

   response, a copy of which Leco Supply never received. Id. at 10.

42. In support of its determination that the authenticity of “much of the documentation” regarding

   production of hangers in Laos is “in question,” CBP cited to only a single piece of evidence –

   one receipt for packaging materials – and did not address the numerous other third-party

   invoices and bank records submitted by Leco Supply documenting production of wire hangers

   at Truong Hong’s factory in Laos. Id. at 9.

43. CBP acknowledged in a footnote that “non-compliance with 19 C.F.R. § 165.4(a)(1) and (e)

   may have occurred.” Id. at 9, footnote 22. Specifically, “TRLED did not provide a public

   summary of RAAAS’s Summary of Facts Memorandum, labeling it as ‘not capable of public

   summary’ but TRLED failed to provide a full explanation of that claim as required pursuant to

   19 C.F.R. § 165.4(e). This is also evidence in other documents TRLED placed on the record

   but redacted almost entirely as containing business confidential information without providing

   a public summary.” Id. at 9, footnote 23. However, CBP continued to make a finding of

   evasion despite these expressly acknowledged deficiencies.



                                  STATEMENT OF CLAIMS

                                            COUNT I

44. The allegations in paragraphs 1 through 43 are restated and incorporated herein by reference.

45. An importer participating in an administrative proceeding has a procedural due process right


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   to “notice and a meaningful opportunity to be heard.” PSC VSMPO-Avisma Corp. v. United

   States , 688 F.3d 751, 761–62 (Fed. Cir. 2012) (quoting LaChance v. Erickson, 522 U.S. 262,

   266 (1998)); see also Royal Brush Manufacturing, Inc. v. United States, Slip Op. 20-171 at 20

   (Ct. Int’l Tr., Dec. 1, 2020) (“Royal Brush”).

46. Due process “‘forbids an agency to use evidence in a way that forecloses an opportunity to

   offer a contrary presentation.’ Thus, to comply with due process, Customs’ procedures must

   afford adequate opportunity for importers to respond to the evidence used against them.” Royal

   Brush at 22 (quoting Bowman Transp., Inc. v. Arkansas-Best Freight System, Inc., 419 U.S.

   281, 289 n.4 (1974)).

47. The final administrative determination of evasion in H315522 was based largely on evidence

   placed on the record by CBP, M&B, or other interested parties, that was designated as

   “business confidential.”

48. The EAPA and its implementing regulations fail to provide any mechanism for Leco Supply

   or its legal representative to view the evidence on which CBP based its determination of

   evasion.

49. “[T]he very foundation of the adversary process assumes that use of undisclosed information

   will violate due process because of the risk of error.” American-Arab Anti-Discrimination

   Committee v. Reno, 70 F.3d 1045, 1069 (D.C. Cir. 1995).

50. The denial of opportunity to view the business confidential record in Cons. Case No. 7537

   foreclosed any opportunity by Leco Supply to rebut the purported evidence against it or to

   offer a contrary presentation.

51. As implemented, the EAPA fails to provide constitutionally mandated procedural due process.

52. Final evasion determination H315522, because it resulted from the constitutionally deficient




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   process established by the EAPA and its implementing regulations, is arbitrary, capricious, an

   abuse of discretion, or otherwise not in accordance with law.



                                            COUNT II

53. The allegations in paragraphs 1 through 52 are restated and incorporated herein by reference.

54. CBP acknowledged in H315522 that “TRLED did not provide a public summary of RAAAS’s

   Summary of Facts Memorandum, labeling it as ‘not capable of public summary’ but TRLED

   failed to provide a full explanation of that claim as required pursuant to 19 C.F.R. § 165.4(e).

   This is also evidence in other documents TRLED placed on the record but redacted almost

   entirely as containing business confidential information without providing a public summary.”

   H315522 at 9, footnote 23.

55. Other documents that CBP redacted in full without providing an adequate (or any) public

   summary include Exhibits 4 and 7 to M&B’s allegations against Leco Supply; numerous DC

   NTAC “Analysis Reports” with respect to Leco Supply and the other importers; CBP’s January

   27, 2020 Memorandum to the File, “CBP Data;” and CBP’s January 27, 2020 Memorandum

   to the File, “Additional Information.”

56. CBP’s acknowledged failure to provide Leco Supply with public summaries of all business

   confidential information on the administrative record violates 19 C.F.R. § 165.4(a)(1) and (e).

   CBP nevertheless went to make a final determination of evasion that was based in part on

   information in the RAAAS Summary of Facts Memorandum and other confidential

   documents, public versions of which were not provided to Leco Supply.

57. CBP’s failure to comply with its own regulatory procedures established in 19 C.F.R. § 165.4

   deprived Leco Supply of its procedural due process rights and was arbitrary, capricious, an




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   abuse of discretion or otherwise not in accordance with law.



                                          COUNT III

58. The allegations in paragraphs 1 through 57 are restated and incorporated herein by reference.

59. During the course of its investigation, CBP designated entire documents placed on the record

   by CBP and by M&B as “business confidential,” thus depriving Leco Supply of any knowledge

   of the contents of the evidence of evasion such documents purportedly contained, while

   rejecting business confidential submissions by Leco Supply and other importers as “over-

   bracketed” where even a single page was wholly bracketed.

60. This disparate treatment of evidence placed on the record by the importers under investigation

   versus evidence placed on the record by CBP and M&B created a fundamentally unfair playing

   field, in which Leco Supply’s accuser had access to all evidence placed on the record by Leco

   Supply, but Leco Supply was unable to view M&B or CBP’s evidence against it.

61. CBP’s application of significantly more stringent standards for treatment of business

   confidential information submitted by the importers under investigation in comparison to the

   standards applied to business confidential information submitted by CBP and M&B is

   arbitrary, capricious, an abuse of discretion or otherwise not in accordance with law.



                                          COUNT IV

62. The allegations in paragraphs 1 through 61 are restated and incorporated herein by reference.

63. CBP’s regulations implementing the EAPA require CBP to maintain an administrative record

   for each EAPA investigation. See 19 C.F.R. § 165.21.

64. CBP has not established any mechanism by which all public documents and public versions of




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   documents on the administrative record in an EAPA investigation may be viewed by the

   interested parties.

65. In Cons. Case No. 7357, CBP did not make the full public administrative record available to

   the interested parties, and did not at any time provide the interested parties time with a complete

   list of what documents were included in the administrative record.

66. As a result of CBP’s failure to make all public documents on the administrative record

   available for review in a centralized manner, or even to advise the interested parties as to what

   documents the public administrative record comprised, Leco Supply was unable to determine

   whether the evidence that it received from CBP and other interested parties constituted the full

   administrative record.

67. Although the regulations require that parties serve public versions of submissions on all

   interested parties, CBP acknowledged in H315522 that it did not know whether Truong Hong

   did so, thus acknowledging that it did not ensure that all parties had access to the full public

   administrative record.

68. Based on references in other documents on the record and in H315522, Leco Supply is now

   aware that it was not provided public versions of other documents on which CBP relied in

   making its final determination of evasion.

69. CBP’s failure to provide Leco Supply access to the full administrative record deprived Leco

   Supply of adequate opportunity to review and respond to the evidence as required by

   procedural due process, and is arbitrary, capricious, an abuse of discretion, or otherwise not in

   accordance with law.




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                                           COUNT V

70. The allegations in paragraphs 1 through 69 are restated and incorporated herein by reference.

71. CBP failed to acknowledge or respond to Leco Supply’s repeated statements that all evidence

   on the administrative record – including evidence submitted by M&B – indicates Truong Hong

   was capable of producing at least one container of hangers per month on average, which level

   of production was more than enough to accommodate Leco Supply’s importations during the

   period of investigation.

72. CBP made passing reference in H315522 to a question of “if Truong Hong produced any wire

   hangers in Laos,” indicating that it disregarded the uncontroverted record evidence that Truong

   Hong produced at least some wire hangers in Laos. See H315522 at 10.

73. In its final administrative determination, CBP claimed that “the authenticity of much of the

   documentation as it pertains to the production of wire hangers by Truong Hong is in question.”

   Id. at 9. In support of this assertion, CBP cited to just one of the 22 exhibits that Leco Supply

   submitted as evidence for the specific shipment in question – a receipt for the boxes that Truong

   Hong purchased to package the hangers for shipment – and claimed that the evidence was

   suspect because the receipt was generated by Truong Hong rather than by the vendor. Id.

74. CBP ignored direct evidence submitted by Leco Supply showing invoices and transportation

   records from third parties documenting purchase by, and delivery to, Truong Hong in Laos of

   steel wire, paper tubes and paper in the correct types and quantities for the production of Leco

   Supply’s hangers, in the weeks just prior to the export of Leco Supply’s shipment of hangers.

75. CBP further ignored bank wire transfer records submitted by Leco Supply, documenting

   payment by Truong Hong to the suppliers of the steel wire and paper tubes and papers, in the

   amounts invoiced.




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76. In basing its assessment of “much of” the evidence submitted by Leco Supply on a single

   document relating to packaging, and disregarding entirely hard evidence relating to the actual

   materials used in production of the wire hangers in question, CBP knowingly and materially

   mischaracterized the record evidence.

77. CBP’s finding of substantial evidence of evasion, because it was made in disregard of the

   record evidence, is arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

   with law.



                                           COUNT VI

78. The allegations in paragraphs 1 through 77 are restated and incorporated herein by reference.

79. In order to make a determination of evasion, the burden is on CBP to determine that substantial

   evidence of evasion exists.

80. CBP’s claim in H315522 that “Leco Supply cannot show that Truong Hong specifically

   produced the two (2) containers of wire hangers it imported into the United States,” see

   H315522 at 10, applies an incorrect burden of proof under the EAPA.

81. Placing the burden on Leco Supply to prove production in Laos is inconsistent with the

   substantial evidence standard provided for in 19 U.S.C. § 1517(c)(1)(A), and is accordingly

   arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.



                                           COUNT VII

82. The allegations in paragraphs 1 through 81 are restated and incorporated herein by reference.

83. CBP’s determination of evasion by Leco Supply was based in part on its determination that

   Truong Hong’s production capacity was insufficient to match its exports to all ten importers




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   in the investigation, even though the record evidence indicates that its production capacity is

   more than sufficient to match its exports to Leco Supply. See H315522 at 10. Effectively,

   CBP determined that evasion must have occurred generally because CBP could not otherwise

   account for all of Truong Hong’s shipments, and applied that general conclusion to Leco

   Supply’s shipments without analyzing whether evasion occurred with regard to Leco Supply’s

   shipments specifically.

84. CBP expressly refused to analyze Leco Supply’s shipments separately from those of the other

   importers in Cons. Case No. 7357, stating that there is “no requirement…that this

   determination be broken out by each importer in the event that multiple EAPA investigations

   are consolidated.” Id. at 11.

85. CBP’s refusal to consider whether Leco Supply committed evasion separately from whether

   the other nine, completely unrelated importers may have done so, is arbitrary, capricious, an

   abuse of discretion, or otherwise not in accordance with law.



                                   PRAYER FOR RELIEF

       WHEREFORE, Leco Supply requests that this Court:

       (1) Hold unlawful and set aside CBP’s evasion determination in H315522;

       (2) Order CBP to refund to Leco Supply any monies collected as a result of its decision in

          H315522; and

       (3) Grant such additional relief as the Court may deem just and proper.




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                                               Respectfully submitted,


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Dated: March 25, 2021




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